Case 6:22-cv-02202-CEM-LHP Document 4 Filed 11/30/22 Page 1 of 2 PageID 33




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


TAMARA R. HATCHER,

                  Plaintiff,

v.                                                Case No. 6:22-cv-2202-CEM-LHP

SOJOURN VENTURES LLC,
LEON HARBOR LLC, SUNKEN
TREASURES LLC, and MANDY
THOMAS,

                  Defendants.
                                     /

                                    ORDER
     THIS CAUSE is before the Court on sua sponte review. To facilitate

compliance with the Local Rules, it is ORDERED as follows:

        1. Within fourteen days from the date of this Order, or if a party joins this

           action subsequent to the entry of this Order, from the date of a party’s

           first appearance, each party shall:

              a. Comply with Local Rule 3.03 and file a Disclosure Statement in

                  the form provided on Judge Mendoza’s page on the Middle

                  District of Florida website. Each party has a continuing

                  obligation to file and serve an amended Disclosure Statement

                  within fourteen days of discovering any ground for amendment,



                                    Page 1 of 2
Case 6:22-cv-02202-CEM-LHP Document 4 Filed 11/30/22 Page 2 of 2 PageID 34




                    conflict of interest, recusal, or disqualification of the judicial

                    officer.

               b. Comply with Local Rule 1.07(c) and file a Notice of Pendency

                    of Other Actions in the form on Judge Mendoza’s page on the

                    Middle District of Florida website.

         2. In accordance with Federal Rule of Civil Procedure 16 and Local Rule

            3.02(d)(1), a special scheduling order will be issued separately.

         DONE and ORDERED in Orlando, Florida on November 30, 2022.




Copies furnished to:

Counsel of Record




                                      Page 2 of 2
